                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


   U NITED S TATES OF A MERICA
                                                   Criminal Action No.
          v.
                                                   1:19-CR-297-ELR-JSA
   P ETER T ARANTINO


               United States’ Sentencing Memorandum Regarding
                           Defendant Peter Tarantino

   The United States of America, by Ryan K. Buchanan, United States Attorney,
and Thomas J. Krepp and Annalise K. Peters, Assistant United States Attorneys

for the Northern District of Georgia, files this Sentencing Memorandum in
advance of the sentencing of Defendant Peter Tarantino.

                                 I. BACKGROUND

      1. Procedural History
   In 2019, the defendants Todd Chrisley, Julie Chrisley, and Peter Tarantino
were indicted by a federal grand jury for a variety of crimes. (Doc 1). The grand

jury returned a superseding indictment in February 2022. (Doc. 130). After a
three-week trial in May and June 2022, the defendants were convicted of all
charges. Tarantino was convicted of three counts of the superseding indictment:
one count of conspiracy to defraud the IRS (18 U.S.C. § 371) and two counts of
willfully filing false tax returns (26 U.S.C. § 7206(2)).




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       2. The Presentence Investigation Report
   U.S. Probation prepared a Presentence Investigation Report (“PSR”) in
advance of sentencing. The parties agree with Probation’s calculations with the
exception of whether the two-level enhancement for abusing a special skill
should be added to the conspiracy charge. However, this is a technical issue that
does not impact the ultimate Guidelines range.1 Regardless of the Court’s ruling
on that issue, the parties agree that Tarantino’s advisory Guidelines range is 41-
51 months’ imprisonment based on a Total Offense Level of 22 and Criminal

History Category I.

                       II. SENTENCING GUIDELINES

   1. Tarantino should receive a two-level enhancement because he used a
      special skill in a manner that significantly facilitated the commission or
      concealment of the tax offenses.
   Section 3B1.3 provides for a two-level enhancement “[i]f the defendant …
used a special skill[] in a manner that significantly facilitated the commission or

concealment of the offense.” U.S.S.G. § 3B1.3. The commentary defines a “special
skill” as one “not possessed by members of the general public and usually
requiring substantial education, training or licensing. Examples would include

pilots, lawyers, doctors, accountants, chemists, and demolition experts.” Id. cmt.
n.4 (emphasis added). “If an ‘average person off the street’ does not possess the
skill, then the skill is considered ‘special’ for the purposes of applying the


   1An additional minor point that does not impact the Guidelines range is that
the PSR does not calculate the offense level for each offense separately before
applying the grouping rules. See § 1B1.1.


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enhancement.” United States v. De La Cruz Suarez, 601 F.3d 1202, 1219 (11th Cir.
2010) (quoting United States v. Calderon, 127 F.3d 1314, 1339 (11th Cir. 1997)). A
special skill does not require formal education, see United States v. Foster, 155 F.3d
1329, 1331 (11th Cir. 1998), and “may be obtained through life experience and self
study.” United States v. Batista De La Cruz, 460 F.3d 466, 468 (3d Cir. 2006). The
guideline applies to those “who abuse . . . .their special skills” and that “such
persons generally are viewed as more culpable.” U.S.S.G. § 3B1.3, cmt. (backg’d).
“The legal question is not whether the task could be performed by a person
without special skills, but whether the defendant’s special skills aided him in
performing the task.” United States v. Covey, 232 F.3d 641, 647 (8th Cir. 2000).
“There is no requirement in the guidelines that the enhancement for use of

special skills be used only for complex tasks.” Id.
   Courts routinely apply the special skill enhancement pursuant to § 3B1.3
where the defendant is an accountant and used his accounting or tax preparation

skills to facilitate the commission of the offense. For instance, in United States v.
Antonaras, 627 F. App’x 819, 822 (11th Cir. 2015), the Eleventh Circuit affirmed
the application of the special skills enhancement where the defendant “used his
skills as an accountant to prepare false tax returns” and other tax documents in
connection with fraudulent loan applications. Similarly, in United States v.
Alejandrez, 701 F. App’x 789, 790-91 (11th Cir. 2017), the defendant was “a
professional tax preparer and bookkeeper [and] filed fraudulent claims on behalf
of herself and others … relating to the Deepwater Horizon oil rig explosion and
oil spill.” In affirming the application of the special skills enhancement, the


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Eleventh Circuit explained that the defendant “possessed tax preparation skills
beyond those of the average person and [] used those skills in an attempt to
commit and conceal her fraud offense.” Id.
   In United States v. Hollender, 85 F. App’x 787, 790 (2d Cir. 2004), the defendant,
“a self-taught tax preparer who [was] authorized by the IRS to e-file other
individual’s tax returns,” prepared and filed false tax returns in a tax fraud
scheme. When interviewed by an IRS-CI Special Agent, he “gave false answers in
response to inquiries regarding his tax preparation business.” Id. The Second
Circuit easily affirmed the application of the special skill enhancement. Likewise,
in United States v. Noah, 130 F.3d 490, 500 (1st Cir. 1997), the First Circuit found
that the sentencing court properly applied the special skills enhancement where

the defendant was a professional tax preparer who had fraudulently filed tax
returns online. The Court found that the enhancement was “especially
appropriate” in that case because “the IRS authorized only certain individuals—

approved electronic return originators—to submit tax returns by computer,”
meaning that the defendant’s skill were “special in the sense that it was not
enjoyed by the populace at large.” Id. See also Covey, 232 F.3d at 647 (affirming
enhancement application where the defendant was a CPA and used those skills
to effectuate a money laundering scheme); United States v. Fritzson, 979 F.2d 21,
22 (2d Cir. 1992) (affirming enhancement application where the defendant was
an accountant who prepared and filed false tax returns, finding that he
“possessed a special skill that increased his chance of succeeding on the
fraudulent refund claims”).


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   In this case, for the Guidelines calculation for conspiracy to defraud the IRS,
Tarantino should receive the two-level enhancement pursuant to § 3B1.3 because
his skills as a tax preparer and registered IRS e-filer “significantly facilitated the
commission [and] concealment of the offense.” U.S.S.G. § 3B1.3. Like the
defendants in Antonaras, Hollender, Noah, and Fritzson, Tarantino used his IRS-
assigned electronic filing identification number (EFIN) to file false tax returns.
Tarantino filed two corporate returns for 7C’s Productions that falsely showed
that the company made no money in 2015 and 2016. (Gov. Exs. 4, 6; see also Doc.
130 at ¶ 44). Additionally, acting as the Chrisleys’ power of attorney, Tarantino
lied to and misled multiple IRS revenue officers who were attempting to collect
the Chrisleys’ delinquent taxes. And like the defendant in Hollender, Tarantino

lied to an IRS-CI special agent when interviewed during the criminal tax
investigation. (Gov. Ex. 1102). The enhancement applies because the unrefuted
evidence at trial showed that Tarantino used his accounting and tax preparer

skills to facilitate and conceal the conspiracy to defraud the IRS.
                        III.   SECTION 3553(A) ARGUMENT

   Peter Tarantino was not the leader of Todd and Julie Chrisley’s sweeping,
lengthy fraud schemes, nor was he making millions of dollars in profits from
their fraud schemes. Nevertheless, he willingly joined the Chrisleys’ criminal
conspiracy to defraud the IRS and helped them hide their money and thwart the
IRS’s efforts to collect taxes. Tarantino played a key role in helping the Chrisleys
commit tax evasion, particularly as their accountant and power of attorney with




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the IRS. As set forth below, a substantial period of incarceration is necessary to
deter other accountants from helping their clients cheat the tax system.
   The sentencing court’s “task is to impose a sentence that will adequately
(1) ‘reflect the seriousness of the offense,’ (2) ‘promote respect for the law,’
(3) ‘provide just punishment,’ (4) ‘afford adequate deterrence,’ (5) ‘protect the
public from further crimes of the defendant,’ and (6) provide the defendant with
any needed training and treatment in the most effective manner. United States v.
Rosales-Bruno, 789 F.3d 1249, 1253–54 (11th Cir. 2015) (citing 18 U.S.C.
§ 3553(a)(2)). “The task is a holistic endeavor that requires the district court to
consider a variety of factors: (1) the nature and circumstances of the offense,
(2) the defendant's history and characteristics, (3) the kinds of sentences
available, (4) the applicable sentencing guidelines range, (5) pertinent policy
statements of the Sentencing Commission, (5) the need to provide restitution to
any victims, and (6) the need to avoid unwarranted sentencing disparities.” Id. at
1254 (citing 18 U.S.C. § 3553(a)).
   Tarantino is a white-collar professional with no criminal history, but that
alone does not merit special consideration when crafting an appropriate
sentence. The Eleventh Circuit has explicitly instructed sentencing judges not to
give a “sentencing discount” because of a white-collar professional’s economic or
social status. See United States v. Kuhlman, 711 F.3d 1321, 1329 (11th Cir. 2013)
(discussing a case where “the Sixth Circuit flatly rejected a district court’s
reliance on the defendant’s ‘chosen profession and status in the community,’
holding that such factors were ‘decidedly inappropriate to form the basis of such
a large downward variance.’” United States v. Peppel, 707 F.3d 627, 641 (6th Cir.




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2013)). As the Eleventh Circuit instructed in Kuhlman, “we encourage our district
court colleagues to keep in mind that
      [b]usiness criminals are not to be treated more leniently than
      members of the ‘criminal class’ just by virtue of being regularly
      employed or otherwise productively engaged in lawful economic
      activity. It is natural for judges, drawn as they (as we) are from the
      middle or upper-middle class, to sympathize with criminals drawn
      from the same class. But in this instance we must fight our nature.
      Criminals who have the education and training that enables people to make
      a decent living without resorting to crime are more rather than less culpable
      than their desperately poor and deprived brethren in crime.

Id. at 1329–30 (quoting United States v. Stefonek, 179 F.3d 1030, 1038 (7th Cir. 1999)
(emphasis added). Nor should Tarantino be able to point to the collateral
consequences of his conviction to argue that he has already been “punished
enough.” See United States v. Musgrave, 761 F.3d 602, 608–09 (6th Cir. 2014)
(impermissible for the district court to rely heavily on the fact that the defendant
had already “been punished extraordinarily” through years of legal process, the
loss of his CPA license, and his felony conviction).
   Tarantino repeatedly engaged in serious criminal conduct to help his clients
further their tax crimes and defraud the IRS. Acting as power of attorney for the
Chrisleys, Tarantino repeatedly lied to IRS Revenue Officers, third parties, and
even the assigned case agents about the Chrisleys’ taxes and assets. He lied to
multiple, hardworking IRS Revenue Officers who were trying to do their job to
find and collect the Chrisleys’ delinquent taxes. Tarantino falsely claimed to one
Revenue Officer that Julie Chrisley had no interest in 7C’s Productions and that
the Chrisleys’ daughter owned it. (Tr. at 786). He also falsely told another
Revenue Officer that he didn’t know where the Chrisleys banked, even though



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he had the bank login credentials at that time. (Tr. at 645, 752-53; Gov. Ex. 668).
All the while, Tarantino dutifully reported his obstructive conduct to the
Chrisleys. For instance, Tarantino once emailed the Chrisleys that ”[t]he agent
also asked me specific questions about your current living arrangements, et
cetera. I avoided answering them.”(Gov. Ex. 748). Tarantino, knowing that his
clients had not filed their tax returns, repeatedly sent copies of tax returns to
banks and other third parties to give the false impression that the Chrisleys had
filed and paid. (Tr. at 645-51; Gov. Exs. 500, 507, 509, 510, 511). And when he was
finally confronted by the assigned FBI and IRS-CI case agents, he falsely claimed
to not know how Todd Chrisley earned his money. (Gov. Ex. 1102). Each one of
these actions was a crime, and they were part of a coordinated effort by a trained
accountant to help his clients get away with tax fraud. Tarantino used his
training and expertise to help his clients cheat the system.
   It is important that the imposed sentence reflect the seriousness of his
criminal conduct, promote respect for the law, and provide just punishment. See
United States v. Martin, 455 F.3d 1227, 1240 (11th Cir. 2006). Similarly, the Court
must consider “the need to avoid unwarranted sentence disparities between
defendants with similar records who have been found guilty of similar conduct.”
18 U.S.C. § 3553(a)(6). This provision “is focused primarily on nationwide
sentencing disparities.” United States v. Ronga, 682 F. App’x 849, 859 (11th Cir.
2017) (citation omitted). “The focus on nationwide disparities does not mean, of
course, that sentences imposed in this circuit are subject to a ‘national grade
curve.’” Id. (quoting United States v. Hill, 643 F.3d 807, 885 (11th Cir. 2011)). But
the types and lengths of sentences imposed nationally for defendants convicted




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of similar offenses is informative in determining whether a particular sentence
would or would not result in an unwarranted sentencing disparity.
   The Sentencing Commission’s recent report on tax fraud offenses noted that
in 2021, the median loss amount for tax offenses was $278,325, and less than 12%
of all tax-related crimes involved a loss amount greater than $1.5 million.2 The
Sentencing Commission also reported that the average sentence imposed on tax-
related offenders last year was 14 months’ imprisonment. Here, the tax loss is
more than $1.4 million, dwarfing the national median and putting this case in the
top tier of tax fraud offenses. A substantial custodial sentence is essential to
avoid unwarranted sentencing disparities between Tarantino and other tax
professionals who have been sentenced to federal prison for engaging in similar
conduct.
   General deterrence is a paramount concern given Tarantino’s role as a trained
accountant. “Most income tax evasion is undiscovered. To be effective as general
deterrence, punishments should lead entrepreneurs considering tax evasion to
calculate that they will be punished by incarceration and suffer substantial
financial penalties if their cheating is discovered.” United States v. Gorodetsky, 288
F.R.D. 248, 249 (E.D.N.Y. 2013). “Because economic and fraud-based crimes are
‘more rational, cool, and calculated than sudden crimes of passion or
opportunity,’ these crimes are ‘prime candidate[s] for general deterrence.’”
Martin, 455 F.3d at 1240 (citation omitted). As the Sentencing Commission has
explained,


   2See United States Sentencing Commission, Quick Facts: Tax Fraud Offenses,
available at https://www.ussc.gov/sites/default/files/pdf/research-and-
publications/quick-facts/Tax_Fraud_FY21.pdf (last visited Nov. 14, 2022).


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      [b]ecause of the limited number of criminal tax prosecutions relative
      to the estimated incidence of such violations, deterring others from
      violating the tax laws is a primary consideration underlying these
      guidelines. Recognition that the sentence for a criminal tax case will
      be commensurate with the gravity of the offense should act as a
      deterrent to would be violators.

U.S.S.G. Ch. 2, Part T, intro. cmt. “Studies have shown that salient examples of
tax-enforcement actions against specific taxpayers, especially those that involve
criminal sanctions, have a significant and positive deterrent effect.” Joshua D.
Blank, In Defense of Individual Tax Privacy, 61 EMORY L.J. 265, 321 (2011-2012).
For instance, one study found that “compared to personal conversations about
tax audits with friends and associates, individuals are more likely to be deterred
by examples of tax enforcement reported by the media ‘because the media tend[]
to focus on cases where taxpayers go to prison or pay large fine.’” Id. (citation
omitted).
   Other accountants must be put on notice that there are serious consequences
for helping clients get away with tax crimes. The fact that the clients are the ones
who stand to financially benefit the most does not give accountants free reign to
help those clients get away with fraud and profit along the way. The prison
sentence imposed for Tarantino must send a message to other accountants and
tax professionals that helping commit tax fraud and filing false tax returns is
serious criminal conduct that won’t be swept aside or discounted.




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                            IV. CONCLUSION
   For the reasons above and the evidence that will be presented at sentencing,
the United States respectfully requests that the Court find that the above-listed
Guidelines enhancement applies to Defendant Peter Tarantino and consider the
above-listed arguments and evidence when imposing a fair and reasonable
sentence under 18 U.S.C. § 3553(a).


   This 14th day of November, 2022.

                                         Respectfully submitted,

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                         CERTIFICATE OF SERVICE


The United States Attorney’s Office served this document today by filing it using
the Court’s CM / ECF system, which automatically notifies the parties and counsel
of record.




November 14, 2022


                                         /s/ T HOMAS J. K REPP

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